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 1    MEGAN A. MAITIA (Bar No. 285271)
      megan@summaLLP.com
 2
      JENNIFER L. WILLIAMS (Bar No. 268782)
 3    jenn@summaLLP.com
      SUMMA LLP
 4
      1010 Sycamore Avenue, Unit 117
 5    South Pasadena, California 91030
      Telephone: (213) 260-9455/52/56
 6
      Facsimile: (213) 835-0939
 7
 8    Attorneys for Defendant
      DOUGLAS J. CHRISMAS
 9
                               UNITED STATES DISTRICT COURT
10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
      UNITED STATES OF AMERICA,               Case No. 2:21-CR-00127-MCS
13
                  Plaintiff,
14                                            DEFENDANT’S OPPOSITION TO
            v.
15                                            GOVERNMENT’S INTERPRETATION
      DOUGLAS J. CHRISMAS,                    OF JURY INSTRUCTION 31
16
17                Defendant.                  Judge:      Hon. Mark C. Scarsi

18                                            Hearing:    TBD
19
                                              Trial:      May 28, 2024
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         On the eve of trial, the prosecutors are taking the position for the first time that to
 4   convict under 18 U.S.C. § 153, the Government need only prove that Mr. Chrismas
 5   knowingly and fraudulently transferred property belonging to the estate, regardless of the
 6   intended use of that property. (Dkt. 106, citing Jury Instruction 31 in Dkt. 45 at p.43.)
 7         In doing so, the Government relies on grammatical gymnastics and fancy graphics.
 8   But its interpretation ignores the most important guide: common sense. When read in its
 9   entirety and, as the Court must, consistent with due process notice requirements counseled
10   by the Rule of Lenity, the only common-sense interpretation of the embezzlement statute is
11   the one already reflected in Jury Instruction 31, as adopted from the Eleventh Circuit
12   Model Jury Instructions (and previously sanctioned by this same prosecution team). That
13   is, 18 U.S.C. § 153 criminalizes one who (a) knowingly and fraudulently (b) embezzled,
14   spent, transferred, or appropriated to the Defendant’s own use (c) property belonging to the
15   estate. “To the Defendant’s own use” is a concept understood from the context, and
16   reflected by the Model Instruction, that applies to each word in the series, which each
17   incorporate the everyday, common sense meaning of embezzlement.
18         The Government, trying to score a conviction without the literal burden it is required
19   to carry, now argues that it can convict where there was a “knowingly and fraudulent
20   transfer,” period (that is, a transfer that was concealed, even if the transfer was intended to
21   benefit the estate). This sudden position exposes what the Government has now come to
22   understand based on evidence it long ignored. Without such a contorted (and
23   constitutionally defective) reading, it cannot win; as the Government now knows, the
24   transfers were, in fact, intended to benefit the estate. But just as the Government cannot
25   change the facts—try as it might—to fit the law of the crime it charged, it likewise cannot
26   change the law—try as it might—to fit the facts it now knows.
27         Consistent with applicable case law on criminal embezzlement and common sense,
28   Jury Instruction 31 should be read as drafted (see Dkt. 45 at pp. 42-43).

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 1   II.   ARGUMENT
 2                A.     The Government’s interpretation contradicts context, common
                         sense, and applicable case law.
 3
 4         As drafted, 18 U.S.C. § 153 prohibits conduct when a person (a) “knowingly and

 5   fraudulently appropriates to the person’s own use, embezzles, spends, or transfers” property

 6   belonging to a bankruptcy estate, (b) when the person has access to and is entrusted with

 7   that same property. The Government’s brief fails to read the series in subsection (a)

 8   together and in light of subsection (b). But when the whole statute is considered together

 9   and in context, the instruction already reflected by the Eleventh Circuit prevails.

10         First, the Government’s tedious analysis of the Nearest Reasonable Referent and

11   Series Qualifier Rule canons falls by the wayside as it disregards the “Whole Act Rule,” the

12   established canon of construction that, consistent with common sense, requires courts to

13   look at the statute as a whole.

14                When interpreting a statute, the court will not look merely to a

15                particular clause in which general words may be used, but will

16                take in connection with it the whole statute (or statutes on the

17                same subject) and the objects and policy of the law, as indicated

18                by its various provisions, and give to it such a construction as

19                will carry into execution the will of the Legislature.

20   Kokoszka v. Belford, 417 U.S. 642, 650 (1974) (cleaned up); Azarte v. Ashcroft, 394 F.3d

21   1278, 1288 (9th Cir. 2005), abrogated on other grounds by Dada v. Mukasey, 554 U.S. 1

22   (2008), (“The key to the whole act approach is, therefore, that all provisions and other

23   features of the enactment must be given force, and provisions must be interpreted so as not

24   to derogate from the force of other provisions and features of the whole statute.”).

25         Mr. Chrismas has been charged with violations of § 153, an “Embezzlement against

26   estate” statute by name. Federal case law defines “embezzlement” as “the fraudulent

27   appropriation of property by a person to whom such property has been entrusted, or into

28   whose hands it has lawfully come.” United States v. Lequire, 672 F.3d 724, 728 (9th Cir.

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 1   2012) (emphasis added) (collecting Ninth Circuit cases). Black’s Law Dictionary similarly
 2   defines embezzlement as the “fraudulent taking of personal property with which one has
 3   been entrusted, especially as a fiduciary.” EMBEZZLEMENT, Black’s Law Dictionary
 4   (11th ed. 2019) (emphasis added). And Merriam-Webster defines to “embezzle” as “to
 5   appropriate (something, such as property entrusted to one’s care) fraudulently to one’s own
 6   use.” “embezzle.” Merriam-Webster.com. 2024. https://www.merriam-
 7   webster.com/dictionary/embezzle (6 May 2024) (emphasis added).
 8         Though there is no Ninth Circuit model jury instruction for § 153, bankruptcy law
 9   defines embezzlement as “the fraudulent appropriation of property by a person to whom
10   such property has been entrusted or into whose hands it has lawfully come,” and requires
11   proof of three elements: “(1) property rightfully in the possession of a nonowner; (2)
12   nonowner’s appropriation of the property to a use other than which [it] was entrusted;
13   and (3) circumstances indicating fraud.” In re Littleton, 942 F.2d 551, 555 (9th Cir. 1991)
14   (citations omitted) (emphasis added).
15         In this context—where property is in one’s hands for one purpose and then used for
16   another—the words appropriate, embezzle, spend, and transfer are synonyms to describe
17   the same conduct. Embezzlement (as understood in everyday life) requires that the alleged
18   wrongdoer initially had lawful access to the property given his position of trust, Lequire,
19   672 F.3d at 728, and the crime occurs only when the property is used in violation of that
20   position of trust. This, of course, requires the jury to evaluate how the defendant used (or,
21   more to the point, intended to use) the property before it can vote to convict under § 153.
22         This interpretation is also consistent with, and does not make superfluous, the
23   immediately preceding statute, 18 U.S.C. § 152, which criminalizes various acts when
24   taken in relation to a bankruptcy proceeding, such as, for example, concealing assets of an
25   estate (§ 152(1)) and making a false statement in relation to bankruptcy proceeding
26   (§ 152(3)). Of note, § 152(7) criminalizes one who “knowingly and fraudulently transfers
27   or conceals” property with the intent to defeat bankruptcy rules. The Government’s
28   interpretation of § 153 (as reflected in Jury Instruction 31)—that is, “embezzlement of the
                                                     3
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 1   estate” can be completed where one, in the course of a bankruptcy proceeding, knowingly
 2   and fraudulently transfers money from an estate—is no different than what is already
 3   proscribed in § 152(7). The Government’s interpretation would, therefore, mean Congress
 4   criminalized the same conduct twice, in back-to-back statutes. Such interpretation is not
 5   only inconsistent with common sense, but also not endorsed by caselaw. See e.g., Mackey
 6   v. Lanier Collection Agency, 486 U.S. 825, 836-37 (1988) (declining “to adopt an
 7   interpretation of a congressional enactment which renders superfluous another portion of
 8   the same law”).
 9            The defense’s commonsense interpretation of Jury Instruction 31 also follows the
10   Ninth Circuit model instruction for the analogous 18 U.S.C. § 641, Theft of Government
11   Money or Property, which criminalizes conduct when the defendant “embezzles, steals,
12   purloins, or knowingly converts to his use or the use of another” government property.
13   According to the model instruction, the Government must prove beyond a reasonable
14   doubt:
15                  [T]he defendant knowingly [[embezzled] [stole] [converted to the
16                  defendant’s use] [converted to the use of another]] [money]
17                  [property of value] with the intention of depriving the owner of
18                  the use or benefit of the [money] [property].”
19   Ninth Circuit Model Criminal Jury Instruction 23.1. Thus for § 641, embezzlement,
20   stealing, and conversion are synonyms to describe the ways for a defendant to commit the
21   crime, that is, wrongfully depriving the government of the use or benefit of its own
22   property. United States v. Dupee, 569 F.2d 1061, 1064 (9th Cir. 1978) (affirming
23   conviction under 18 U.S.C. § 641 when the defendant, a postal office clerk, failed to turn
24   over money he received for processing customer money orders) (“This is a classic case of
25   embezzlement the fraudulent conversion of the property of another by one who is lawfully
26   in possession of it.”); United States v. Bui, 2004 WL 57082, at *4 (E.D. Pa. Jan. 9, 2004),
27   aff’d, 152 F. App’x 159 (3d Cir. 2005) (denying motion for judgment of acquittal following
28   conviction under 18 U.S.C. § 1711, Misappropriation of Postal funds) (“[T]he gravamen of
                                                     4
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 1   the offense is the personal use of the money or property by the employee.”) (emphasis
 2   added).
 3         The defense’s interpretation is reinforced by the traditional canon of construction,
 4   noscitur a sociis, which “dictates that ‘words grouped in a list should be given related
 5   meaning.” Dole v. United Steelworkers of Am., 494 U.S. 26, 36 (1990). In Dole, the
 6   question involved the Office of Management and Budget’s scope under the Paperwork
 7   Reduction Act in regulating other agencies’ requests to businesses for “a written report
 8   form, application form, schedule, questionnaire, reporting or recordkeeping requirement,
 9   collection of information requirement, or other similar method calling for the collection of
10   information.” Id. at 34. The question was whether OMB’s authority to regulate “reporting
11   or recordkeeping requirements” included the authority to approve the Department of
12   Labor’s substantive OSHA-related disclosure rules for hazardous chemicals. The Supreme
13   Court, relying on noscitur a sociis and the Whole Act Rule, said, obviously, no:
14                  The other examples listed in the definitions of “information
15                  collection request” and “collection of information” are forms for
16                  communicating information to the party requesting that
17                  information. If “reporting and recordkeeping requirements” is
18                  understood to be analogous to the examples surrounding it, the
19                  phrase would comprise only rules requiring information to be
20                  sent or made available to a federal agency, not disclosure rules.
21   Id.; United States v. Williams, 553 U.S. 285, 294 (2008) (describing noscitur a sociis as the
22   “commonsense canon” that “counsels that a word is given more precise content by the
23   neighboring words with which it is associated”).
24         Finally, but perhaps most importantly, the defense’s position is supported by the
25   Rule of Lenity, which tips the balance in favor of the defendant not only when faced with
26   ambiguous text but also when faced with ambiguous legislative history. Liparota v. United
27   States, 471 U.S. 419, 427 (1985) (“Although the rule of lenity is not to be applied where to
28   do so would conflict with the implied or expressed intent of Congress, it provides a time-
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 1   honored interpretive guideline when the congressional purpose is unclear.”). Here, the
 2   Government does not cite, and the defense has not located, any legislative history to
 3   support the Government’s interpretation of Jury Instruction 31. The Rule of Lenity
 4   prohibits such an interpretation because it would necessarily impose criminal liability on
 5   the public under an embezzlement statute without proof of the everyday meaning of
 6   embezzlement, the wrongful use of property. The Court’s “job is always in the first instance
 7   to follow Congress’s directions. But if those directions are unclear, the tie goes to the
 8   presumptively free citizen and not the prosecutor.” United States v. Rentz, 777 F.3d 1105,
 9   1113 (10th Cir. 2015); Wooden v. United States, 595 U.S. 360, 389 (2022) (GORSUCH, J.,
10   concurring) (“Lenity works to enforce the fair notice requirement by ensuring that an
11   individual’s liberty always prevails over ambiguous laws.”) (offering detailed history on
12   the Rule of Lenity).
13                B.       The commonsense interpretation of 18 U.S.C. § 153 is supported by
                           the plain language of Jury Instruction 31.
14
15         The actual instructive language in Jury Instruction 31 confirms the defense’s position

16   here: “embezzle” and “appropriate” mean the same thing, and those terms are further

17   defined by the synonyms “spend,” “transfer,” and “convert,” when the spending, transfer,

18   or conversion is for personal use or someone else’s use (and not for the use of the

19   bankruptcy estate):

20                The heart of the charge in the indictment is the knowing and

21                fraudulent embezzlement or appropriation of property belonging

22                to the Debtor’s estate.

23                “Fraudulent” means to knowingly deceive or mislead someone,

24                usually for personal gain.

25                To “embezzle” or “appropriate” means to wrongfully take

26                someone’s property and spend it, transfer it, convert it to

27                personal use, or convert it to someone else’s use.

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 1   (Dkt. 45 at PACER p.43 (emphasis added).) The Government sanctioned this explanatory
 2   language in Jury Instruction 31 when these prosecutors filed the Joint Proposed Jury
 3   Instructions. But the Government ignored this language in their brief and offered no basis
 4   for the Court to excise it from Jury Instruction 31.
 5         The case law cited by the Government does not change the analysis. The
 6   Government first cites United States v. Love, 17 F. App’x 796 (10th Cir. 2001), arguing
 7   that the debtor (FACC) “did not relinquish control transferred to Impact [FACC’s affiliate]
 8   accounts,” and the Tenth Circuit affirmed the § 153(a) convictions because the “statute
 9   prohibits knowing and fraudulent embezzlement, spending, transference, etc., whether or
10   not such activity is occasioned toward the offender’s own use.” (Dkt. 106 at 9-10 and n.8,
11   citing Love, 17 App’x at 800.) The Government’s characterization of Love is misleading.
12         The focus of Love was the defendant’s criminal “concealment of bankruptcy assets”
13   from creditors as prohibited under 18 U.S.C. § 152, a statute the Government has not
14   charged here. Love was convicted based on evidence that he (the CFO of FACC)
15   transferred FACC money from the bankruptcy estate to the affiliate company “in order to
16   conceal [the] property from its creditors,” and the money was “almost entirely depleted” by
17   the time the affiliate’s assets were consolidated with the bankruptcy estate. Id. at 800. But
18   Love was charged under the 1993 version of 18 U.S.C. § 153, which applied only to
19   “property that came into one’s charge as trustee or other officer of the court.” Love, 17 F.
20   App’x at 801. Love was neither and argued that his § 153 conviction should be overturned
21   he was outside the statute’s reach. The Court affirmed the conviction because Love was
22   charged under 18 U.S.C. § 2 for aiding and abetting his co-defendant who was the trustee,
23   and in this context, the Court explained, the “embezzlement, spending, transference, etc.”
24   need not be for the aiding and abetting offender’s own use. The court did not speak to, let
25   alone adopt, the interpretation the Government now presses. Id.
26         Unlike Love, Mr. Chrismas is charged with violating § 153 directly (not through a
27   § 2 aiding and abetting theory of liability). Consistent with his charges, his defense is that
28   he made the Museum rent payments to preserve the Museum lease as an asset to the estate
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 1   and its creditors. The Government tries to cut off this defense by arguing that the Museum
 2   would have been “legally prohibited from giving money back to Ace Gallery in the manner
 3   defendant now suggests” (even though the Government knows, because the defense told
 4   the prosecutors, that the ACE Gallery creditors had legally enforceable financial interests to
 5   the Museum) (Dkt. 106 at 11 n.9.) The Government can make this “closing argument” to
 6   the jury, but it is far from conclusive on the legal issue before the Court and says nothing
 7   about Chrismas’s intent, which is the main issue in the case.1
 8         The Government then cites United States v. Klupt, 475 F.2d 1015 (2d Cir. 1973) (see
 9   Dkt. 106 at 10). Like Love, Klupt turned on 18 U.S.C. § 152, the “concealment of
10   bankruptcy assets” statute that the Government has not charged here and does not govern
11   the jury instructions in a § 153 embezzlement case. Last, the Government cites United
12   States v. Coin, 753 F.2d 1510 (9th Cir. 1985) for the argument that embezzlement is a
13   crime because the “victim of the crime is deprived of its right to make decisions about how
14   its property or funds are to be used.” (Dkt. 106 at 11, arguing that “[s]o too here,” “Ace
15   Gallery was deprived of its right to make decisions about the embezzled property the
16   moment that property left the bankruptcy estate.”) But Coin supports the defense’s position
17   on Jury Instruction 31: the defendant was convicted of embezzling tribal funds because he,
18   as vice-chairman of the tribe, used some tribal funds ostensibly to pay bills related to the
19   tribe and “used the remainder for his personal benefit.” Coin, 753 F.2d 1510 (emphasis
20   added).
21                  C.    The Government’s position lacks credibility because it is
                          inconsistent with its previous position.
22
23         For this entire case, the Government has put forth a legal theory consistent with the

24   plain reading of Jury Instruction 31. And in every substantive filing, the Government has

25
26   1
      Factually, at the time of the charged transactions, Mr. Chrismas was the debtor in
27   possession of the bankruptcy estate and authorized to operate the business, and he was
     permitted to enter many transactions that did not require prior approval from the
28   bankruptcy court.
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 1    argued that the charged transactions violated § 153 because they benefitted the Museum to
 2    the exclusion of the ACE Gallery bankruptcy estate:
 3                 In March and April 2016, defendant embezzled $264,595 from
 4                 the bankruptcy estate of Ace Gallery. He was the estate’s trustee
 5                 at the time, and he used this position to transfer assets out of the
 6                 estate for the benefit of a different company, which he also
 7                 controlled, called Ace Museum. . . .
 8                 Prior to the appointment of the independent trustee, though,
 9                 defendant embezzled $264,595 from the bankruptcy estate over
10                 the course of three separate transactions. . . . Defendant used
11                 that money to benefit a completely different company, Ace
12                 Museum, wherein he was the chief executive and financial
13                 officers.
14    (Dkt. 47 at 3-4; see also Gvt. filings at Dkt. 48 at 3-4 (same), Dkt. 54 at 3-4 (same), Dkt.
15    87 at 3 (same), Dkt. 88 at 3 (same), Dkt. 89 at 3-4 (same), Dkt. 91 at 3, 6 (same).)
16          In the Joint Statement of the Case, which the Government has asked this Court to
17    read to the jury pool, the Government summarized its theory as follows:
18                 The government alleges that during his time as trustee of the
19                 bankruptcy estate, Mr. Chrismas embezzled property belonging
20                 to Ace Gallery’s bankruptcy estate. Specifically, the government
21                 alleges that Mr. Chrismas used his position as trustee to embezzle
22                 approximately $264,595 from the bankruptcy estate over the
23                 course of three separate transactions -- two transactions on March
24                 30, 2016, and one transaction on April 1, 2016 -- by using that
25                 money to benefit a completely different company, which he
26                 also controlled, and not using it to benefit Ace Galle[r]y.
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             DEFENDANT’S OPPOSITION TO GOVERNMENT’S INTERPRETATION OF JURY INSTRUCTION 31
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 1    (Dkt. 51 at 3 (emphasis added); see also Department of Justice’s archived Criminal
 2    Resource Manual § CRM 500-99, part of DOJ’s Justice Manual, which characterizes the
 3    relevant § 153 language as prohibiting “embezzling property” and nothing else.)
 4          A few weeks ago, the defense provided evidence to the prosecutors that the ACE
 5    Gallery bankruptcy estate had legal interests in the Museum lease, such that payments to
 6    preserve the lease would benefit the bankruptcy estate, and the Government agreed that
 7    this evidence changed its view of the case in an exculpatory way. (See Dkt. 94-1 at ¶¶ 8-
 8    10). But now, heading to trial and realizing their case is legally flawed, the Government
 9    has suddenly changed its theory:
10                 MS. MAKAREWICZ: The focus is wrong, Your Honor. It
11                 doesn’t have to do with the benefit of the estate. It has to do
12                 with the fact that it left the estate. The fact that the money
13                 was moved from the debtor. Even if we take the defendant at
14                 his word, he is allowed to present [his defense], that is not
15                 relevant, because the fact that it went to the landlord is where
16                 the focus needs to be, because then [the money] definitely left
17                 the estate. . . .
18                 That’s why the use and benefit is the wrong analysis, Your
19                 Honor. The fact that the money went out of the estate is where
20                 the focus should be, because it did.
21    (April 29, 2024 Tr. at pp. 22:7-23:18 (emphasis added).)
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 1          This about face is the Government’s attempt to win by default without meeting their
 2    burden of proof. 2 The Court should reject the Government’s interpretation of Jury
 3    Instruction 31, read the instruction to the jury as drafted at Docket 45, and allow Mr.
 4    Chrismas to put on a defense consistent with the plain language of this instruction.
 5
 6    Dated: May 6, 2024                            Respectfully submitted,
                                                    Summa LLP
 7
 8                                                   /s/ Megan A. Matia
                                                    Megan A. Maitia
 9
                                                    Jennifer L. Williams
10
                                                    Attorneys for Defendant
11
                                                    DOUGLAS J. CHRISMAS
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        The Government’s theory change here raises new constitutional issues, that the
      Government seeks to convict Mr. Chrismas for a theory not presented to the grand jury and
26    for conduct not charged in the indictment. If true, this could amount to a constructive
27    amendment or fatal variance of the indictment in violation of the 5th Amendment and
      require reversal of any conviction. United States v. Ward, 747 F.3d 1184, 1188–89 (9th Cir.
28    2014).
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